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        UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                            PLAINTIFF

VS.                                  Case 4:23-cv-00321-DMR

SYDNEY REDFIELD, d.b.a. SIDALPHA                                           DEFENDANTS

 MOTION FOR EXTENSION OF TIME TO FILE SECOND MOTION FOR ISSUANCE
                               OF SUBPOENA DUCES TECUM
        Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for Extension of Time to File Second Motion for Issuance of Subpoena Duces Tecum.
1.      On August 23, 2023, the Court issued an order in this case which, among other things,
ordered me to file my Second Motion for Issuance of Subpoena Duces Tecum by no later than
September 13, 2023.
2.      Immediately after seeing this order, I contacted the Federal Pro Bono Office for the
Northern District of California and requested an appointment to discuss the matter. See Exhibit
A. However, the next day, the Federal Pro Bono Office replied and said they could not work me
in any later than the end of September. See Exhibit B. The earliest they were able to work me in
was September 28, 2023.
3.      Considering how swamped they are, I would not be surprised if, when they finally do
reply to offer me an appointment slot, it may even be early October.
4.      As a result, I humbly and respectfully ask the Court to push my deadline to file the
renewed Motion for Issuance of Subpoena Duces Tecum back until 12:00PM on September 29,
2023.
5.      Wherefore, premises considered, I respectfully request that this Motion for Extension of


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Time be granted.
      So requested on this, the 25th day of August, 2023.

                                                                     /s/ David Stebbins
                                                                 David Stebbins (pro se)




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